                              EXHIBIT D




Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 1 of 23 Pageid#: 570
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGI1vIA
                                        Harrisonburg Division



   JOHN DOE 1,et al., by and through their
   next friend, NELSON LOPEZ,on behalf of
   themselves and all persons similarly situated,
                                                         CIVII, ACTION
          Plaintiffs,

   v.                                                    Case No.: 5:17-cv-00097-EKD

   SHENANDOAH VALLEY JUVENILE
   CENTER CONIlVIISSION,                                 Honorable Elizabeth K. Dillon

          Defendant.


                                              AFFIDAVIT

   COMMONWEALTH OF VIRGI1vIA
   COUNTY OF AUGUSTA:

          This day, Elizabeth Ropp, Case Manager for Shenandoah Valley Juvenile Center
   Commission, appeared before the undersigned notary public and made oath to the following
   based on her personal knowledge, and if called to testify, would testify as follows:
          1.      I am employed as Lead Case Manager for Shenandoah Valley Juvenile Center
   Commission ("SVJC").
          2.      I was the case manager for Declarant J.A.("J.A.").
          3.      As his case manager, I supervised and oversaw all aspects of J.A.'s care and
   placement at SVJC.
          4.      I am a custodian of and have access to J.A.'s case file in the performance of my
   employment responsibilities.
          5.      All records referenced by and attached to this affidavit:
          (a)     Are true, accurate, and complete copies of records regularly maintained by SVJC
                  as part of J.A.'s case file in the ordinary course of business;
          (b)     Are made at or near the time ofthe actions and events described therein;




Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 2 of 23 Pageid#: 571
           (c)    Are prepared using information provided by persons with knowledge of the
                  actions and events described therein; and
           (d)    Are made and maintained as a regular practice by SVJC.
           6.     J.A. was apprehended while crossing over the border from Mexico.
           7.     J.A. was initially placed at St. Paul-St. Joseph's Children's Home on April 3,
   2016.
           8.     During his assessment, J.A. disclosed that he began working with the Zetas Cartel
   when he was 10. Initially, he was an "alcon" or look-out with a radio announcing when the
   police were near. At 11, he began working as a "sicario" or hitman, stating that he killed
   approximately 500 people.       J.A. had reported the same information previously at other
   placements.
           9.     J.A. reported that the Zetas Cartel allowed him to change his job in 2015, when he
   began trafficking in people, weapons (including automatic weapons, grenades, and bazookas),
   and drugs (described as bundles of cocaine, marijuana, syringes, and pills) across the border into
   the United States.
           10.    J.A. was placed in staff-secure placements by ORR due to his disclosure of
   violence committed in Mexico.
           11.    While at SVJC, J.A. received a psychologist assessment and evaluation by Dr.
   Gustavo Rife on or around May 20,2016.
           12.    In his report, Dr. Rife found indications of problems with a cruel and
   psychopathic level of disregard for the welfare of others, high levels of explosive anger,
   impulsivity, high level of substance abuse, self-injurious behavior, and developmental
   immaturity resulting in severe disordered conduct and violent behaviors.
           13.    While at SVJC, J.A. was evaluated and treated by a psychiatrist during individual
   psychiatric sessions on a monthly basis with Timothy Kane, M.D., starting on July 20, 2016, for
   approximately five occasions while at SVJC.
           14.    On September 2, 2016, J.A. reported that he was told that his mother was
   murdered. At this time, his behavior began to deteriorate with more incidents of harming
   himself and others.




Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 3 of 23 Pageid#: 572
            15.   During his seven month residence at SVJC, J.A. participated in weekly individual
   counseling sessions and bi-weekly group counseling sessions with a licensed professional
   counselor.
            16.   On August 28, 2016, J.A. reported that he was involved in an incident of sexual
   abuse where he was the alleged victim. After reviewing camera footage, the allegations were
   determined to be unfounded.
            17.   J.A. assaulted other UAC, other juveniles, and staff on at least 9 occasions during
   the seven months he resided at SVJC.
            18.   J.A. engaged in disruptive, threatening, and/or violent behavior on at least 13
   occasions during the seven months he resided at SVJC.
            19.   J.A. was never placed on room restriction for two weeks or three and a half
   weeks.
            20.   J.A. was never left naked attached to restraints or the restraint chair for two and a
   half days.
            21.   Any use of the restraint chair must be documented and approved by SVJC's
   administration.
            22.   There is no record that J.A. was placed in the restraint chair at any time during his
   residence at SVJC
            23.   A copy of a report from J.A.'s file is attached as Exhibit D-1 that describes the
   events that may relate to J.A.'s allegations concerning room restriction. As stated in the report:
          (a)     On September 14, 2016, J.A. was removed from programming for threatening
                  staff and displaying threatening behavior.
          (b)     When staff attempted afive-minute visual safety check, they discovered that J.A.
                  covered his window and would not respond to their questions.
          (c)     After staff entered the room due to safety concerns, they found J.A. had wrapped
                  a sweatshirt around his neck while endorsing suicidal ideations and self-harm
                  behaviors. J.A. refused to remove his sweatshirt.
          (d)     Staff removed the sweatshirt.
            (e)   I and a clinician spoke with J.A. and he calmed down.
          (~      J.A. returned to school without incident until later that afternoon, when he became
                  threatening toward staff during recreation time and was taken to his room.




Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 4 of 23 Pageid#: 573
          (g)    The clinician returned and observed that J.A. was attempting to cut at his wrist
                  with a card, and then across his neck, and stating that he was going to kill himself.
          (h)     J.A. was taken to the Intensive Supervision Room for safety purposes and
                  provided wound care for the superficial scratches on his arm.
          (i)     J.A. calmed down, stopped trying to harm himself, and asked for a safety blanket.
          (j)     J.A. remained in the Intensive Supervision Room overnight for observation to
                 ensure his safety.
          (k)     On September 15, 2016, due to recurrent and continual suicidal attempts and
                  idealizations, SVJC contacted Valley Community Service Board emergency
                  services and they determined that J.A. met the criteria for hospitalization.
          (1)     J.A. began engaging in self-harm while waiting in his room for transport to the
                  Commonwealth Center for Children and Adolescents("CCCA").
          (m)     With no time for less intrusive intervention, staff placed J.A. in physical restraint
                 for his own safety until he calmed down.
          (n)     J.A. was transported to COCA that evening.
          24.     A copy of a report from J.A.'s file is attached as Exhibit D-2 that describes events
   that may correspond with J.A.'s allegations concerning room restriction. As stated in the report:
          (a)     On October 18, 2016, while in the gym, J.A. ignored staff's verbal redirection
                  about kicking a ball at other residents. Staff removed the ball and attempted to
                  put it away; however, J.A. stood in front of the door physically blocking the staff
                  from putting the ball away.
          (b)     J.A. ignored staff's verbal directions and began threatening to fight staff and
                  anyone who would try to remove him from the gym.
          (c)     Staff called for assistance and other residents were removed from the gym.
          (d)     Staff attempted to talk to J.A. I also spoke with J.A. The clinician also arrived
                  and attempted to speak with J.A.
          (e)     J.A. continued to threaten staff, saying that he wanted to fight staff and would not
                  go to his room.
          (~      After additional staff arrived at the gym. J.A. lunged at a staff member and
                  punched him in the face.




Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 5 of 23 Pageid#: 574
             (g)   J.A. was placed in physical restraint, placed on the floor, and his legs were
                   physically restrained. Mechanical restraints were applied and J.A. was taken to
                   his room where the restraints where then removed.
             (h)   J.A. was in physical restraint for approximately five minutes and in mechanical
                   restraints for approximately ten minutes.
             (i)   J.A.'s assault caused swelling and bruising to staffls lip and left eye area. Felony
                   assault charges were filed against J.A.
             (j)   J.A. was removed from programming until October 20,2016.
             25.   A copy of a report from J.A.'s file is attached as Exhibit D-3 that describes events
   that may also correspond with J.A.'s allegations concerning room restriction. As stated in the
   report:
             (a)   On October 26, 2016, J.A.'s request to move to another unit was granted.
             (b)   J.A. refused to go to his room after arriving at the new unit. Multiple staff
                   unsuccessfully asked J.A. to go into his room. J.A. walked to the back ofthe unit,
                   stating that staff would have to use force to take him to his room. Staff continued
                   verbal redirection, which J.A. ignored. J.A. took hold of door handles.
             (c)   Staff removed J.A.'s hands from the door handles and placed him in physical
                   restraint for approximately one minute.
             (d)   J.A. became more combative and head-butted and kicked a member of staff,
                   causing a swollen lip and bruising to the staff member's face.
             (e)   Mechanical restraints were applied and J.A. was taken into his room.
             (fl   Once in his room, J.A. initially refused to allow staff to remove the mechanical
                   restraints.
             (g)   After 20 minutes of verbal redirection from staff, J.A. allowed staff to remove the
                   restraints, and J.A. remained in his room without further incident.
             26.   A copy of a report from J.A.'s file is attached as Exhibit D-4 that describes events
   that may also correspond with J.A.'s allegations concerning room restriction. As stated in the
   report:
             (a)   On November 13, 2016, J.A. was in the gym when a basketball inadvertently hit
                   him. J.A. immediately ran towards the minor who had shot the basketball towards
                   to hoop and began assaulting him.




Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 6 of 23 Pageid#: 575
          (b)    With no time for less intrusive intervention, J.A. was placed in a physical restraint
                 and lowered to the floor for the safety of staff, J.A., and other UAC.
          (c)    J.A. continued to struggle with staff and was placed in mechanical restraints, and
                 was taken to his room.
          (d)    While in his room, J.A. continued to threaten staff if the mechanical restraints
                 were removed.
          (e)    Staff remained with J.A. and continued verbal de-escalation until he calmed
                 down.
          (~j    J.A. was in physical restraint for approximately one minute and in mechanical
                 restraints for approximately 55 minutes.
          (g)    J.A. was seen by the nurse but reported no injuries.
          (h)    Staff reported a swollen knee and bruising and swelling to right side of his
                 forehead, and was checked for a concussion.
          27.    A copy of a report from J.A.'s file is attached as Exhibit D-5 that describes the
   events that may also correspond with J.A.'s allegations concerning room restriction. As stated in
   the report:
          (a)    On November 17, 2016, J.A. and another UAC approached a third UAC in a
                 threatening manner.
          (b)    Both J.A. and the other UAC were asked to return to their seats.
          (c)    Disregarding the direction, J.A. tackled the UAC by the neck, taking him to the
                 ground.
          (d)     With no time for less intrusive intervention, J.A. was placed in a physical restraint
                 for the safety of staff and J.A. and other UAC.
          (e)     J.A. kicked the UAC before staff could restrain him.
          (fl     J.A. continued to struggle with staff while making threatening comments.
          (g)     After exhausting all forms of less intrusive intervention, mechanical restraints
                  were placed on J.A.'s hands and he was escorted to his room.
          (h)     At his room, J.A. continued threatening staff, stating that he would attack staff as
                  soon as the mechanical restraints are removed.
          (i)     J.A. was in physical restraint for approximately two minutes and in mechanical
                  restraints for approximately eight minutes.




Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 7 of 23 Pageid#: 576
           (j)      J.A. reported no injuries.
           28.      J.A. was never placed in this room for weeks at a time while at SVJC.
              29.   J.A. was never placed in the emergency restraint chair while at SVJC.
              30.   J.A. transferred from SVJC to Yolo County Juvenile Detention ("YOLO"), a
    secure facility, on November 20, 2016.
              31.   J.A. was provided with written documentation of his transfer to YOLO, which he
    signed.


                                                                                  t
                                                        Elizab    Ropp



     Subscribed and sworn before me this~day of March 2018 by Elizabeth Ropp.                ~ ••' ~~~TA~Y '•~~';
                                '                                                                  PU2LIC
     My commission expires       ~31 ~ZL~                                                       RED ~ 7F82465
                                      I          ~                                    '~       MY COh~ti~~ssioN ? Q
    Notary Registration No.           ~ Z~ b 5                                          ;o •,      Ex~iREs
                                                                                                •,. 1(31!2;20 • ~~
                                                                                            •.,~~,I,FA„ Ht~ ,,,,~~.

                                                             NOTAR PUBLI




Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 8 of 23 Pageid#: 577
                                                                                                                                                                                               EXHIBIT
                                                                                                                                                                                                D-1
                                         First Name:                                                                        Status:                        ADMITTED
                                         Last Name:                                      ~                                  AKA:

                                         Date of Birth:                                                                     Gender:                        M
                                         A No.:                         208946737                                           LOS:                           158
                                         Age:                           14                                                  LOC:                           164

                                         Child's Country of Birth:       Mexico                                             Nrrent Ptogrem:                Shenandoah Valley Juvenile Center

                                         Admitted Date:                 4/9/2016                                            Current Location:              Staunton, VA

                                                                        4/2/2016
                                         ORR Placement Date:


    Date of Event:    9/14/2016                                     Time of Event: 12:45 AM                                             Event ID:           fi1904


    Synopsis of       UC                                has been engaging in intentional disruptive behavior all day while endorsing suicidal
    Event:            idealizations and self-harming behaviors.



    (' Emergenty 5lR                      f' SIR

    SIR

    r Abuse/Neglect in ORR                                          —>cleu--                                                    Alleged Perpetrator:                  ~ """~
    Care

    r Past Abuse/Neglect Not in ORR               r Ahuse In Home Country                                                    r Abuse On Journey
    Care                                          r Neglect/Abandonment in the Home Country                                  r Neglec[/Abandonment in the United States

                                                  r Abuse In United5tates                                                    r Other

                                                  r Abuse In DHS Custody                                                     Specify:

                                                        r Physical Abuse In ICE Custody

                                                        r Sexual Abuse In ICE Custody

                                                        r Physical Abuse In CBP Custody

                                                        r Sexual Abuse In CBP Custody

                                                        r Other

                                                       Specify:

     R Major Behavioral Incidents that             r' Possession/Use of a Weapon                                              r Physical Aggression/Harm to Others
    threaten safety                                p Suicidal Ideation                                                        r Use of Drugs and/or Alcohol in ORR Custody

                                                  R Verbal Aggression                                                         ~ Self-injurious Behaviors/Self Mutilation

                                                  r Other                                                                     R Suicide Attempt/Gesture

                                                  Specify:

    r Runaway                                     r Runaway                         r Attempted Runaway

    r Incidents Involving Law                     r Search                                                                    r Investigate/Response
    Enforcement                                   r Interview                                                                 r Arrest

                                                  r Oiher

                                                  Specify:

     r Safety Measures                            r One-on-One Supervision                          r Use of Restraints                             r Pat-Down or Other Searches

     r Criminal History                           r Significant Criminal History in Home Country

                                                  r Significant Criminal History in United Sta[es

                                                  r Other

                                                  Specify:

     r Pregnancy Related                           fPregnancy                       (` Childbirth                           (` Termination Request
    Issues                                              Please describe how the pregnancy occurred and if there are any medical complications related to the pregnancy:

     r Other                                       r Contact or Threats to UC while in ORR Care(from smuggling syndicates, organized crime, other criminal actors)

                                                   r Other

                                                  Specify:

    Inddent Information:
    Did the incident take place at another        (^ yes f•No Care Provider Name:              -- selec[ arovider Name --
    careproviderfacility7                                                                    i iF                                          ,,~ i,,,,,   ,.....
                                                                  Care Provider City:                -   ~ ~   Care Provider State

     Location of Incident:                     fious'~ng area      Date Reported To Care Provider:         9/ia/1o16                     Time Reported To Care Provider:       1i:a5 Inn

     Other Specify:                    D pod                        Date Reported To ORR:                  9/14/2016                     Time Reported To ORR:                 Oe:oO PM



    Description of Incident:(Full Description UC                                     has been engaging in intentional disruptive behavior all day while endorsing suicidal ideations and self-
    of Incident)                                  harming behaviors. Minor went into class today calmly and later was reportedly removed for behavior. Around 10:00 Am when clinician
                                                  was walking down the hallway she met minor defiantly standing between the water fountain and wall refusing to listen to staff. He was
                                                 saying he wanted to kill himself and then said his stomach hurt and he wanted the nurse's assistance. Reportedly he had been punching the
                                                  walls and acting up in class. Staff had asked him to go to his room for a cool down. Minor was refusing. He then asked to go into clinician's
                                                  office. Clinician told minor she would speak with him but that right now he needed to listen to staff and go[o his room to cool off. UC
                                                  became angry, clenched his fists, and began breathing hard. UC initially looked as if he was going to hit staff but the stated it was his
                                                  stomach that hurt and he became calm. Minor asked [o speak with Ms. Thacker whom he has been fixating on recently for attention.
                                                  Clinician told him that Ms. Thacker was busy at the moment and that according to staff he needed to go to his room for a five minuet cool
                                                  down or change his behavior and go to school. UC calmed down and decided to go to school with no incident. At 12:45 clinician received a



Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 9 of 23 Pageid#: 578
                                              call from staff that UC         was In a crisis. UC had been placed on a short time out for behavior to school. When staff did their five minuet
                                              check he had covered hIs window and would not respond to their questions. Staff then according to policy entered minors room due to
                                              safety concerns. Minor was laying on his mat in the floor with his sweatshirt tied tightly around his neck. He refused to remove it. With no
                                              time for less intrusive Intervention Shift Supervisor Ms. Craft and Mr. Staton removed the shirt from UC's neck. UC cried and stated that he
                                              wanted to die. Case Manager Elizabeth Ropp and Clinic(an Melissa Coak entered and spoke with minor. UC became calm. He talked about h(s
                                              point loss for the day and some of his anger. As UC had not been removed from programing and presented oriented times 3 He agreed to
                                              safely return to school. UC had no further issues until 3:40 when he became threating towards staff during recreation time in the gym and
                                              was taken to his room. Clinician was called and observed Yhat UC                                                      was cutting at his wr(st (n his room with a
                                              something wh(te. He stated that he was going to kill himself. UC then rubbed the piece of(what was identified as a card) across hIs neck
                                              saying he was looking far a vein to kill himself with. UC stated he was mad at stafffor putting hfm on Yime out and that he was planning to
                                              beat up the staff who put him on time out when he retunes to work on Monday. UC continued to scratch at his arm and neck. Clinician
                                              continued to speak with minor. UC hit his head on the wall a few times and then would lookup at his clinician and say he was going to kill
                                              himself. UC then tore hIs shirt and began trying to choke himself again with it while starring cl(nician down. UC then blamed Ms. Thacker"
                                              because she does not care about me. What good feelings I feel towards her have now turned to hate. I'm going to kill myself and iYs her
                                              fault" Shift supervisor attempted to open the door to remove the shirt but minor stated he was going to fight staff If they came near. UC
                                              eventually removed the shirt from around his neck. Shift supervisor was eventually able to talk UC to to walking with her to the Intensive
                                              Supervision Room in order to help keep him safe. Wound care was provided to minor's arms where he had scratched h(mself earlier. UC
                                              once again began threating to ham himself and others. Clinician decided to contact the local crisis unit to have minor evaluated for safety
                                              as he has been escalating off and on all day. AT 5:15 Clinician Melissa Cook called Valley Services after hour's cNsis line and requested                           I
                                              someone to come evaluate a minor at Shenandoah Valley Juvenile Center. The evaluator Cara Martin stated that she did not feel comfortable
                                              assessing someone at the center as she had never done it before. She stated she would put me in contact with a more experienced person.
                                              The evaluator d(d not ask any questions as to the mental state or safety of the minor in question at any time. Clinician was placed on hold.
                                              When Cara Martin returned to the call she stated that she had spoken with her supervisor and was told that it was after hours and that there
                                              were two calls ahead of this call. There is only one person working and that they would not he able to came out. Staff should assess to
                                              determine if they could keep the minor safe themselves or take him to Augusta Health Emergency Center. If SVJC needed more assistance they
                                              could call back tomorrow. AT 5:18 Clinician Called Program Manager and relayed the conversation. He requested that both clinician and
                                              :upervfsor document the conversation. After speaking with the crisis line Clinician checked in on UC once again. He was still threating staff
                                              and harm to himself. This time he was hitting his arm on the wall. He stopped, looked at clinician, and coherently said "IYs your fault I want
                                              to kill myself". As minor was under good care from staff, clinician informed minor that it was not her fault and asked him to stop hitting his
                                              arm. CI(nician then left the area to stop giv(ng UC his desired attention. Ahout 6:30 clinician was Informed by the night supervisor that UC
                                              had calmed down, stopped trying to harm h(mself, and had asked for a safety blanket. The minor will remain In the Intensive Supervision
                                              Room for the night to ensure his safety.

     was the UC or Anyone Else Injured?:        fVes (~ No                                      SpecHy:

     Actions Taken
     Staff Response and intervention          Clinician and staff worked to verbally de-escalate minor repeatedly. Minor was provided with multiple opportunities to change his
                                              behavior. Staff removed all things conducive to self harm as they hecame issues. After exhausting all forms of less intrusive intervention
                                              Shift supervisor was eventually able to talk UC in to walking with her to the Intensive Supervision Room in order to help keep him safe.
                                              Wound care waz provided to minor's arms where he had scratched himself earlier. UC once again began threating to ham himself and
                                              others. CI(ntclan decided to contact the local crisis unit to have minor evaluated for safety as he has been escalating off and on all day and
                                              Is unpredictable.AT 5:15 Clinician Melissa Cook called Valley Services after hour's crisis line and requested someone to come evaluate a
                                              minor at Shenandoah Valley luventle Center. The evaluator Caro Martin stated that she did not feel comfortable assessing someone at the
                                              center as she had never done tt before. She stated she would put me in contact with a more experienced person. The evaluator did not ask
                                              any questions as to the mental state or safety of the minor (n question at any time. Clinician was placed on hold. When Cara Martin
                                              returned to the call she stated that she had spoken with her supervisor and was told that it was after hours and that there were two calls
                                              ahead of this call. There is only one person working and that they would not be able to come out. Staff should assess to determine if they
                                              could keep the minor safe themselves or Wke him to Augusta Health Emergency Center. if SVJC needed more assistance they could call back
                                              tomorrow.
     Follow-up and/oi Resolution:             At 5:18 Clinician Called Program Manager and relayed the conversation. After speaking with the crisis line Clinician checked in on UC
                                                                          once again. He was still threatening staff and to harm to himself. This time he was hitting his arm on the wall. He
                                              stopped, looked at clinician, and coherently said "IYs your fault I want to kill myself". As minor was under good care from staff and safe,
                                              clinician informed minor that it was not her fault and asked him to stop hitting his arm. Clinician then left the area to stop g(ving UC h(s
                                              desired attention. At 6:30 Clinician Contacted FFS Jessie Mansilla of the situation. About 6:45 clinician was Informed by the night supervisor
                                              that UC had calmed down,stopped trying to harm himself, and had asked for a safety blanket. The minor will remain In the Intensive
                                              Supervision Room for the night to ensure his safety. Following reintegration, Clinician and Case Manager will meet with UC to discuss safety
                                              concerns and behaviorel management. Follow up will be documented in UC's individual progress notes and case manager notes.
     Recommendations:                         M(nor will remain in the Intensive Supervision Roam in order to help keep him safe and help him calm down for the night. Clin(cian will
                                              continue to work with minor and re-evaluate his safety needs In the morning. It is recommended that UC continue to receive case
                                              management, clinical, legal, and medical services.
                                                                                                          ...............   .a..,.~,.     ,.,..,.....~., ~.,~..
     Reporting:

     Reported To State Licensing:             (' Yes (•' No                        Date of Report:                                                                Time of Report:

     Was the Incident lnvestigated7           (" Yes(•' No              Date Notified the Incident                                        Case/Confirmation Number:
                                                                        will 6e investigated:
     Explain

     Results/Findings of Investigation:
     Attach Reports/Findings:

     is CPS Different From State Licensing:    (.' Ves(' No

     Reported To(PS:                          (' Yes R No                          Date of Report:                                                           lime of deport:

     Was the Incident Investigated?           fyes (~ No                Date Notified the Incident                                      Case/Confirmation Number:
                                                                        will 6e investigated:
     Explain

Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 10 of 23 Pageid#: 579
     Results/Findings of Investigation:
     Attach Reports/Findings:

     Reported To Local Law Enforcement:   (' yes f•No                         Date of Report:                                         Time of Report:

                                                                              Officer Name:                                            Officer Badge:

     Was the Incident lnvestigated7       (' Ves (~ No           Date Notified the Incident                                 Case/Confirmation Number:
                                                                 will he Investigated:
     Explain

     Results/Findings of Investigation:
     Attach Reports/Findings:

     ORR NotifiwUons:



                                          Jessie Mansilla              ORR/FFS                  9/14/2016        OS:OO PM         lessie.Mansilla @acf.hhs.g 1024014844

                                          Joseph Pltppin               ORR/PO                  9/14/2016         08:OO PM         Joseph.Fllppin@acf.hhs.go 2024014863
                                                                       Medical Coordinator 9/14/2016             OS:00 PM

                                          Patricia Melendres           Case Coordinator        9/14/2016         08:00 PM         Patrk(a.Melendres~GDIL a9e35876557

                                           Mark Bennett                CFS                      9/14/2016        08:00 PM         mark.bennett@acf.hhs.gov 2022605738

                                          ORR/DCS Hotline              SIR Hotline              9/14/2016        08:00 PM         slrhotline@acf.hhs.gov     2024015709

                                          Rebecca Schreuder            GOIT               _     9/14/2016    _ OS:00 PM           Rebecca.Schreuder@GDIT.cplA75520202

     Other NotiFlcations:
     Is this an SIR for a Runaway?        (~ Ves(' No

                                          Title                 Name                 Date Notified    -Time Notified   Method of Notification     Specify




     Reporter and Follow-Up Contact•



                                          Staff Filing Report            Melissa Cook                 Lead Clinician            mcook~75vjc.org             5408860729

                                          Contact for Follow-Up          Melissa Cook                 Lead Clinician            mcook~svjc.org              5408860729




Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 11 of 23 Pageid#: 580
                                                                                                                                                                                                           ~ -~,~ 132
                                              First Name:                                                                           Status:                          ADMITTED
                                              Last Name:                                                                            AKA:
                                              Date of Birth:                                                                        Gender:                          M
                                               A No.:                         208946737                                             LOS:                             193
                                               Age:                           14                                                    LOC:                             199
                                               Child's Country of Birth:      Mexico                                                Current Program:                 Shenandoah Valley Juvenile Center
                                               Admitted Date:                 4/9/2016                                              Current Location:                Staunton, VA
                                                                              4~2~2016
                                              ORR Placement Date:


     Event Type:       SIR Event
     Date of Event:    10/18/2016                                         T(me of Event: 03:00 PM                                                 Event ID:            76949


     Synopsis of       UC verbally threatened to assault staff and engage in self-harm, he then proceeded to assault staff
     Event:


     l" Emergency 51R                           C•~ SIR
     SIR

     r Abuse/Neglect in ORR                                              ~->e~F~<<-                                                       Alleged Perpetrator.                     -~-5'I°~'.

     Care

     (- Past Abuse/Neglect Not in ORR                 r Abuse In Home Country                                                         r Abuse On Journey
     Care                                             r    Neglect/Abandonment in the Home Country                                    r    Neglect/Abandonment in the United States

                                                      r Abuse In United5tates                                                         r Other

                                                      r Abuse In DHS Custody                                                         Specify:

                                                           r Physical Abuse In ICE Custody
                                                           r Sexual Abuse In ICE Custody

                                                           r Physical Abuse In CBP Custody
                                                           r Sexual Ahuse In CBP Custody

                                                           r Other
                                                          Specify:

     r Major Behavioral In[ident5 that                r Possession/Use of a Weapon                                                    r Physical Aggression/Harm to Others
     threaten safety                                  r Suicidal Ideation                                                             r Use of Drugs and/or Alcohol in ORR Custody
                                                      r Verbal Aggression                                                             r Self-injurious Behaviors/Self Mutilation
                                                      r Other                                                                         r Suicide Attempt/Gesture
                                                      Specify:

      r Runaway                                       (~ Runaway                         r Attempted Runaway

      r Incidents Involving Law                       r Search                                                                        r Investigate/Response
     Enforcement                                      r Interview                                                                     r Arrest

                                                      r Other
                                                      Specify:

      ~✓ Safety Measures                              r One-on-One Supervision                            ~ Use of Restraints                                 r Pat-Down or Other Searches

      r Criminal History                              r Significant Criminal History in Home Country

                                                      r Significant Criminal History in United States

                                                      r Other
                                                      Specify:

      r Pregnancy Related                             fPregnancy                          r Childbirth                              f7ermina[ion Request
     Issues                                                Please describe how the pregnanty occurred and if there are any medical complications related to the pregnancy:

      r Other                                         r Contact or Threats to UC while in ORR Care (from smuggling syndicates, organised crime, other criminal actors)

                                                       r other
                                                      Specify:

     Incident Information:
     Did the incident take place at another           (` Ves R No Cate Provider Name:               -Selene rrovider rvame-
     careproviderfacility7                                                                        _~. ,~:~,~,,, ~~~,,                               .,. i ~~.,, ~-, 4,,,~_.
                                                                        Care Provider City:                             -- Care Provider state.

      Lo[at1011 Of IIl[id2nt:               Recreational Area On-Site   Date Reported To Care Provider:             io/ie/iois                    Time Reported To Care Provider:               03:00 PM

      Other Specify:                        g~"'                         Date Reported To ORR:                      10/1e/2oi6                    Time Reported To ORR:                         03:28 PM



     l=~ Description of Incident(History)



      JC                                     was removed from program for verbally threatening              10/19/201610:21:26 AM                                     ebarge@svjc.org
      ind assaulting staff. Pending full investigation. Follow up will be provided in a SIR
      \ddendum.
     Descrtptlon of Incident:(Full Description On 10/18/16 at 2:40 pm, while Charlie Pod was in the gymnasium, UC                                                             ignored staff's verbal redirection about
     of Incident)                                     kicking the ball at other residents. Due to continued noncompliance, Staff removed the hall and attempted to place [he item in the equipment
                                                      closet. At this time, UC stood in front of the door and used his body to physically block the entrance. Staff verbally redirected UC to move
                                                      away from the door. UC ignored Staff's verbal redirections and began threatening to fight staff and anyone who would try[o remove him


Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 12 of 23 Pageid#: 581
                                                  from the gym. Staff; Mr. Ramos called for assistance from a supervisor in the 6ullding. All other residents were escorted to their pod while
                                                  Staff; Mr. Troutman and Assistant Shift Supervisor; Ms. Thacker attempted to talk to        .Case Manager; Ms. Ropp arrived to speak w(th UC
                                                  but UC continued to not comply with program policy while threatening to harm Staff. Following, Clinician; Ms. Cook arrived to speak with UC.
                                                  UC used profanity towards Clinfcfan and continued to threaten staff, saying he wanted to fight staff and that he refused to go to hfs room.
                                                  Due to UC's continued noncompliance and escalating behavior, addit(onal staff arttved to the gym. Staff; Mr. Ramos attempted to place UC in
                                                  a physical restraint but UC lunged at Staff, punching him (n the face. Staff; Mr. Moats, Mr. Ramos and Mr. Troutman placed UC In a physical
                                                  restraint forthe safety of all parties involved. Due to UC's continued struggle, the physical restraint was taken to the floor and additional
                                                  staff assisted with tecuring UC's legs. Staff; Ms. Leos assisted with keeping UC's head still to prevent UC from spitting on staff. Staff; Ms. Cox
                                                  applied mechanical restraints. UC was escorted to his room by Staff; Mr. Moats and Staff; Mr. Oldham.

     Was the UC or Anyone Else Injured7:                G Yes C~ No                               Specify: 5[aff; nnr. Ramos

     Actions Taken
     ~=1 Staff Response and Intervention (History)



      1C                                  was removed from program for verbally threatening and 10/19/201610:21:26 AM                                 e6arge@svjc.org
      assaulting staff. Pending full Investigation. Follow up will 6e provided in a SIR Addendum.
     Staff Response and Intervention              On 10/18/16 at 2:40 pm, Staff verbally redirected multiple minors from aggressively kicking the bald at each other. Due to continued
                                                  noncompliance, Staff removed the ball and attempted to place the item in the equipment closet. UC                                       stood in
                                                  front of the door and used his body to physically block the entrance. Staff verbally redirected UC to move away from the door. UC ignored
                                                  Staff's verbal redirections and began threatening to fight staff and anyone who would try to remove him from the gym. Staff; Mr. Ramos
                                                  called for assistance from a supervisor in the building. AEI other residents were escorted to their pod while Staff; Mr. Troutman and
                                                  Assistant Shift Supervisor; Ms. Thacker attempted to talk to         Case Manager; Ms. Ropp arrived to speak w(th UC but UC continued to not
                                                  comply with program policy while threatening to harm Staff. Following, Clinician; Ms. Cook arrived to speak with UC. UC used profan(ty
                                                  towards Clinician and continued to threaten staff, saying he wanted to fight staff and that he refused to go to his room. Due to UCs
                                                  continued noncompliance and escalating behav(or, additional staff arrived to the gym.Staff; Mr. Ramos attempted to place UC In a physical
                                                  restraint but UC lunged at Staff, punching him in the face. Staff; Mr. Moats, Mr. Ramos and Mr. Troutman placed UC in a physical restraint
                                                  for the safety of all parties involved. Due to UC's continued struggle, the physical restraint was taken to the floor and additional staff
                                                  assisted with securing UC's legs. Staff; Ms. Leos assisted w(th keeping UC's head still to prevent UC from spitting on staff. Staff; Ms. Cox
                                                  applied mechanical restraints. UC was escorted to his room by Staff; Mr. Moats and Staff; Mr. Oldham. Mechanical restraints were removed.
                                                  UC was in a physical restraint for approximately five minutes and in mechanical restraints far approximately ten minutes.

    0 Fdbw-up and/or Resolution (History)
                                                                                                       ~.

      IC                                  was removed from program for verbally threatening and 10/19/201610:21:26 AM                                 ebarge@svjc.org
       ssaulting staff. Pending full investigation. Follow up will be provided in a SIR Addendum.
     Follow-up and/or Resolution:                 In accordance with the Shenandoah Valley Juvenile Center's behavioral management policy, UC.                                        was removed
                                                  from programming for assault on staff, fighting and aggressive behavior. Per SV1C Program Manager; Jason Klingensmith, UC will be
                                                   removed from programming until 10/20/16.Once removed from programming, UC will be placed on one to one supervision due to his
                                                  continued assaultive behavior. Additionally, SV1C will be filing approximately two to four felony assault charges on UC for his assaultive
                                                   behavior towards Staff. Clinician and Case Manager will meet with UC to discuss safety concerns and behavioral management. Follow up
                                                   will be documented to UC's Individual progress notes and case manager notes. Staff; Mr. Ramos called the VML nurse Iine due to swelling
                                                  and bruising in his lip and left eye area. Staff's lip was also bleeding. VML advised staff to get checked at a medical facility.

     ~~ Recommendations(History)


      UC                                  was removed from progromfor verbally threatening and 30/19/2016102126 AM                                    ebarge@svjc.org
     .assaulting staff. Pending full investigation. Follow up will be provided in a SIR Addendum.
     Rerommend2tions:                              It is recommended that UC continue to receive case management, mental health, medical and legal services.
     Reportln4:

     Reported 7o State Licensing:                  ("' Yes C~ No                     Date of Report:                                                 Time of Report:

     Was the Incident Investigated?                  C' Yes CJ No        Date Notified the Incident                                     Case/Confirmation Number:
                                                                         will be investigated:
     Explain
           progress o(Investigadon (History)

     ~ ~ Results/Findings of Investigation (History):

     Results/Findings of Investigation:
      Attach Reports/Findings:

     is CPS Different From State L(censing:          f.Ves fNo

     Reported To CPS:                                C' yes !7 No                    Date of deport:                                              Time of Report:

     Was the Incident Investigated?               (' Ves C•' No           Date Notified the incident                                 Case/Conflrmatfon Number:
                                                                          will be investigated:
     Explain

     Results/Findings of Investigation:
      Attach Reports/Findings:

      Reported To Local Law Enforcement:           (' yes r No                       Date of Report:                                              Time of Report:

                                                                                     Officer Name:                                                  Officer Badge:

      Was the Incident Investigated?               (` Ves ~' No           Date Notified the Incident                                 Case/Confirmation Number:
                                                                          will be investigated:
     Explain



Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 13 of 23 Pageid#: 582
     Ll Progress M InvesHgadon (History)

    U Results/Flndings of InvesdgaUon (History:

     Results/Findings of Investigation:

     Attach Reports/Findings:

    ORR Notlflcatians:



                                             Jessie Mansilla              ORR/FFS                 10/16/2016       03:32 PM        lessie.Mansilla@acf.hhs.g 4024014844

                                             Joseph Flippin               ORR/PO                  10/18/2016       03:32 PM        loseph.Flippin@acf.hhs.go 2024014863

                                                                          Medical Coordinator

                                             Patricia Melendres           Case Coordinator        10/18/2016       03:32 PM        Patricia.Melendres~GDIT. dbd5876557

                                              Mark Bennett                CFS                     10/18/2016       03:32 PM        mark.6ennett@acf.hhs.gov 2022605738

                                             SIR Hotline                  SIR Hotline             10/18/2016       0332 PM         sirhotline~acf.hhs.gov     2024015709

                                             Rebecca Schreuder            GDIT Supervisor         10/18/201fi      03:32 PM        Rebecca.5chreuder@GDIT.c    75520202

     Other Notifiratlons

     Is this an SIR for a Runaway?           (' Yes C' No

                                             Title                 Name                 Date Notified    Time Notified   Method of Notification   Specify




                                             Staff Filing Report            Melissa Cook                Lead Clinician           mcook@svjc.org             5408860729

                                             Contart for Follow-Up          Melissa Cook                Lead Clinician           mcook@svjc.org             5408860729




Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 14 of 23 Pageid#: 583
                                              First Name:                                                                   Status:                         ADMITTED
                                              Last Name:                                                                    AKA:
                                              Date of Birth:                                                                Gender:                         M
                                             A No.:                         208946737                                       LOS:                            201
                                             Age:                           14                                              LOC:                            207
                                              Child's Country of Birth:      Mexico                                         Current Program:                Shenandoah Valley Juvenile Center
                                             Admitted Date:                 4/9/2016                                        Current Location:               Staunton, VA
                                                                            4~2~2016
                                              ORR Placement Date:


     Event Type:       SIR Event
     Date of Event:    10/26/2016                                         Time of Event: 04:00 PM                                        Event ID:           78181


     Synopsis of       UC was removed from programming due to failure to obey, disruptive behavior and threatening behavior
     Event:


     !" Emergency SIR                         (~ SIR
     SCR

     r Abuse/Neglect in ORR                                           -~>~~~E:=~~-~                                              Alleged Perpetrator:                  - -S~""~
     Care

     r Past Abuse/Neglect Not in ORR                r' Abuse In Home Country                                                  r Abuse On Journey
     Care                                           (-' N egIect/Aban d onment"m the Home Counry
                                                                                              t                               r Neg I ect/Aband onment'in the United States
                                                    r Abuse In United5tates                                                   r Other

                                                    r Abuse In DHS Custody                                                   Specify:

                                                          r Physical Abuse In ICE Custody
                                                          r Sexual Abuse In ICE Custody
                                                          r Physical Abuse In CBP Custody
                                                          r Sexual Abuse In CBP Custody

                                                          r Other
                                                          Specify:

     r Major Behavioral Incidents that              r Possession/Use of a Weapon                                              r Physical Aggression/Harm to Others
     threaten safety                                r Suicidal Ideation                                                       r Use of Drugs and/or Alcohol in ORR Custody

                                                    r Verbal Aggression                                                       r Self-injurious Behaviors/Self Mutilation

                                                    r Other                                                                   r Suicide Attempt/Gesture
                                                    Specify:

     r Runaway                                      r Runaway                          r Attempted Runaway

     r Incidents Involving Law                      r Search                                                                  r Investigate/Response
     Enforcement                                    r Interview                                                               r Arrest

                                                     r Other
                                                    Specify:

     r Safety Mea5ure5                               r One-on-One Supervision                            r Use of Restraints                           r Pat-Down or Other Searches

     r Criminal History                              r Significant Criminal History in Home Country

                                                     r Significant Criminal History in United States

                                                     r Other
                                                    Specify:

      r Pregnancy Related                            C' Pregnancy                       (~ Childbirth                       r Termination Request
     Issues                                               Please describe how the pregnancy occurred and if there are any medical complications related to the pregnancy:

      r Other                                        r Contact or Threats to UC while in ORR Care (from smuggling syndicates, organized crime, other criminal actors)

                                                     r Other

                                                    Specify:

     Inddent Information:
     Did the incident take place at another         f Yes C~ No Care Provider Name:              -seiecc vrovider Name --
     care provider facility?                                                                        ,,                                      ,;, ~;,,      „, ,
                                                                     Care Provider City:                 ~ -   ~ - Care Provider State

      Location of Incident:                      Housing Area        Date Reported To Care Provider:           10/26/2016                Time Reported Ta Care Provider:          o53o PM

      Other Specify:                       cha.i~e uni~               Date Reported To ORR:                    io/zc/zoi6                Time Reported To ORR:                    o6:i5 atvt



           Dezalptlon of Inddant(Hirtory



     `Pending full investigation. Follow up will be provided in a SIR Addendum.                          110/27/201610:05:26 AM                             e6arge@svjc.org

     Description of Incident: (Full Description SIR Addendum 10/27/16: On 10/26/16 at 4:00 pm, Staff moved UC                                                to Charlie Pod due to UC's request to be
     of Incident)                                   moved off of Alpha Pod. Soon after arriving to the unit, UC refused to go to his room. Multiple staff spoke with UC, verbally redirecting UC to
                                                    comply with Staff's requests and follow program policy. UC stood up from his seat and walked into the back corner of Charlie pod while
                                                    telling staff that they would have to use force to take him to his room. Staff continued verbal redirection, but UC refused to comply. Next, UC
                                                    walked back to the corner of the roam and held onto the door handles. Due to UC's escalating behavior and failure to comply with program
                                                    policy, Staff; Ms. Leos and Assistant Shift Supervisor; Ms. Thacker each took one of UC's arms and removed them from the door handles. Next,


Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 15 of 23 Pageid#: 584
                                                 Staff; Mr. Moats and Staff; Mr. Troutman placed UC in a physical restraint far the safety of UC, Staff and other minors in the program. UC
                                                 became combative and head 6u[ted Staff; Mr. Moa[s in the lip and also kicked Staff. The physical restraint was moved to the floor for the
                                                 safety of all parties. Due to UC's continued aggressive behavior, mechanical restraints were applied. UC was escorted to his room. Once in
                                                 his room, UC refused to allow staff to remove the mechanical restraints. Af[er 20 minutes of verbal redirection, UC allowed Staff to remove
                                                 the restraints and remained in his room without further incident. Reported by: Elizabeth Ropp

     Was the UC or Anyone Else Injured7:             !: Yes C~ No                                   $Pe[I~: Staff; Mr. Moats

     Actions Taken

     ~=1 Steff Response end Interventlon (History)



     Pending full investigation. Follow up will be provided in a SIR Addendum.                           10/27/2016 10:05:26 AM                        ebarge@svjc.org

    Staff Response and Intervention              SIR Addendum 10/27/16: On 10/26/16 at 4:00, Staff verbally redirected UC to enter his room after moving UC to Charlie Pod. UC refused to go
                                                 to his room. Multiple staff spoke with UC, verbally redirecting UC to comply with Staff's requests and follow program policy. UC walked back
                                                 to the corner of the room and held onto the door handles. Due to UC's escalating behavior and failure to comply with program policy, Staff;
                                                  Ms. Leos and Assistant Shift Supervisor; Ms. Thacker each took one of UC's arms and removed them from the door handles. Nez[, Staff; Mr.
                                                  Moats and Staff; Mr. Troutman placed UC in a physical restraint for the safety of UC, Staff and other minors in the program. UC became
                                                 combative and head butted Staff; Mr. Moats in the lip and also kicked Staff. The physical restraint was moved to the floor for the safety of all
                                                  parties. Due to UC's continued aggressive behavior, mechanical restraints were applied. UC was escorted to his room. Once in his room, UC
                                                 refused to allow staff to remove the mechanical restraints. After 20 minutes of verbal redirection, UC allowed Staff to remove the restraints
                                                 and remained in his room without further incident. UC was in a physical restraint for approximately one minute and in mechanical
                                                 restraints for approximately 20 minutes. Reported by: Elizabeth Ropp

     U Follow-up and/or Rewlution(HisWry)



     Pending full investigation. Follow up will be provided in a SIR Addendum.                           10/27/201610:05:26 AM                         ~ebarge@svjc.org

     Follow-up and/or Resolution:                SIR Addendum 10/27/16: In accordance with the Shenandoah Valley Juvenile Center's behavioral management policy, UC
                                                                       was removed from programming for threatening behavior, failure to obey and assault on staff. UC's behavior will be
                                                 continually evaluated in order to expedite UC's reintegration into regular programming while maintaining the safety of UC, staff and other
                                                  minors in the program. Removal from programming will not exceed 24 hours, without administrative approval. Clinician and Case Manager
                                                  will meet with UC to discuss safety concerns and behavioral management. Follow up will 6e documented in UC's individual progress notes
                                                 and case manager notes. Following the incident, Staff; Mr. Moats called the VML nurse line for his swollen and bruised lip from being head
                                                  butted by UC. Reported by: Elizabeth Ropp

     ~~ Recommendations(History)



     Lending full investigation. Follow up will be provided in a SIR Addendum.                           110/27/201610:05:26 AM                        ~ebarge@svjc.org

     Recommendations:                             It is recommended that UG continue to receive case management, mental health, medical and legal services.

     Reportlng:

     Reported To State Licensing:                 C' Yes (~ No                         Date of Report:                                                 Time of Report:

     Was the Incident Investigated?               C' yes (~ No              Date Notified the Incident                                      Case/Confirmation Number:

                                                                            will be investigated:

     Explain

     O Progress of Investigation (History)
     ~~ Results/Findings of Investigation (History):

     Results/Findings of Investigation:

     Attach Reports/Findings:

     I5 CPS Different From State Licensing:          f: Ves C° No

     Reported To CPS:                            (" Ves f•No                           Date of Report:                                              Time of Report:

     Was the Incident Investigated?                  C' Ves f. No           Date Notified [he Incident                                    Case/Confirmation Number:

                                                                            will 6e investigated:

     Explain

     Results/Findings of Investigation:

     Attach Reports/Findings:

     Reported To Lo[al Law Enfor[ement:          (" yes r No                           Date of Report:                                              Time of Report:

                                                                                       Officer Name:                                                 Officer Badge:

     Was the Incident Investigated?              (' yes (•' No              Date Notified the Incident                                    Case/Confirmation Number:

                                                                            will be investigated:

     Explain

     U Progress of Investigation (History)

     ~' Results/Findln6s of InvertiBallon (History):

     Results/Findings of Investigation:

     Attach Reports/Findings:
                                                                                                                                      _                                                 _..
     ORR NoWicadans;



                                                     Jessie Mansilla            ORR/FFS                  10/26/2016        06:15 PM             jessie.mansilla@acf.hhs.g Q024014844

                                                     Patrice West               ORR/PO                   10/26/2016        06:15 PM             rhonda.west@acf.hhs.gov 2024014863

                                                                                 Medical Coordinator



Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 16 of 23 Pageid#: 585
                                     Patric(a Melendres           Case Coordinator        10/26/2016      06:15 PM        patrkta.melendres@gdit.c 4035876557

                                     Mark Bennett                 CFS                     10/26/2016      06:15 PM        mark.Bennett@acf.hhs.gov 2024014827

                                     DCS Hotline                  SIR Hotline             10/26/2016      06:15 PM       sirhotllne@acf.hhs.gov    2024015709

                                     Rebecca Schreuder            GDIT                    10/26/2016      06:15 PM        rebeccaschreuder@gdit.co 4555 20202

     Other Nat~otions:
     Is this an SIR for a Runaway?   (' Yes (~ No

                                     Title                 Name                 Date Notified   Time Notified   Method of NotiFcation   Specify




                                     Staff Filing Report            Elsa Galla rdo              Case Manager           egallardo@svjc.org         5408860729

                                     Contact for Follow-Up          Elsa Galla~do               Case Manager           egallardo~svjc.org         5408960729




Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 17 of 23 Pageid#: 586
                                                                                                                                                                                                        ~T
                                           First Name:                                                                           Status:                     ADMITTED                          n   - .....   -
                                           Last Name:                                                                            AKA:
                                           Date of Birth:                                                                        Gender:                     M
                                           A No.:                         209946737                                              LOS:                        219
                                           Age:                           14                                                     LOC:                        225
                                           Child's Country of Birth:      Mexico                                                 Current Program:            Shenandoah Valley Juvenile Center
                                           Admitted Date:                 4/9/7016                                               Current Location:           Staunton, VA
                                                                          4/2/2016
                                           ORR Placement Date:


     Event Type:       SIR Event
     Date of Event:    11/13/2016                                     Time of Event: 03:00 PM                                                Event ID:        80720


     Synopsis of       Fight in the Gym; Unit Charlie
     Event:


     (' Emergency 5lR                         C•' SIR
     SIR

     r Abuse/Neglect in ORR                                          ---seir~-~                                                      Alleged Perpetrator.               -~s"~~"~-
     Care

     r Past Abuse/Neglect Not in ORR              r Abuse In Home Country                                                         r Ahuse On Journey
     Care                                         r Neglect/Abandonment in the Home Country                                       r Negleci/Abandonment in the United States

                                                  r Abuse In UnitedStates                                                         r Other
                                                  r Abuse In DHS Custody                                                          Specify:

                                                        r Physical Abuse In ICE Custody
                                                        r Sexual Abuse In ICE Custody

                                                        r Physical Abuse In CBP Custody
                                                        r Sexual Abuse In CBP Custody
                                                        r Other

                                                        Specify:

     (~ Major Behavioral Incidents that           r Possession/Use of a Weapon                                                    ~ Physical Aggression/Harm [o Others
     threaten safety                              r Suicidal Ideation                                                             r Use of Drugs and/or Alcohol in ORR Custody

                                                  r Verbal Aggression                                                             r Self-injurious Behaviors/Self Mutilation

                                                  r Other                                                                         r Suicide Attempt/Gesture
                                                  Specify: Assault on peer and threatening behavior

     r Runaway                                    r Runaway                           r Attempted Runaway

     r Incidents Involving Law                    r Search                                                                        r Investigate/Response
     Enfof[ement                                  r Interview                                                                     r Arrest

                                                  r Other
                                                  Specify:

     r Safety Measures                            r One-on-One Supervision                                r Use of Restraints                         r Pat-Down or Other Searches

     r Criminal History                           r Significant Criminal History in Home Country

                                                  r Significant Criminal History in United States

                                                  r Other
                                                  Specify:

     r Pregnancy Related                          (" Pregnancy                          ~' Child birth                           C~ Termination Request
     Issues                                             Please describe how the pregnancy occurred and if there are any medical complications related to the pregnancy:

     r Othet                                      r Contact or Threats to UC while in ORR Care(from smuggling syndicates, organised crime, other criminal actors)

                                                  r Other

                                                  Specify:

     Inddent Information:
     Did the incident take place at another       (' Yes C? No dare Provider Name:                    -select Provider Name --
     care providerfaciliry?
                                                                    Care Provider City:    - 5~~~" ~'".~"`i~~ "",- Care Provider State:- ~_~`"-", „ ~~~~~ siaiF~--

      Location of Incident:             Recreational Area On-Site   Date Reported To Care Provider:               11/13/2016                 Time Reported To Care Provider:        03:08 PM

      Other Specify:                    ~Ym                          Date Reported To ORR:                        11/13/zo16                 Time Reported To ORR:                  03:45 PM



     ~~ DesuipNon of Inddent(History)



      IC assaulted another minor in the gym. Pending full investigation. Follow up will be                  11/14/2016 10:12:50 AM                            egalia rdo@svjc.org
       provided in a SIR Addendum.
     Description of Incident:(Full Description pn 11/13/16 at 02:41PM, while in the gym, another minor shot a basketball towards the hoop. As the ball came down, UC
     of Incident)                                                   was standing under the basket and therefore, was hit on the head. At this time, UC immediately ran towards the minor and
                                                  began assaulting him in his upper body. Due to no time for a less intrusive intervention, staff Mr. Peeling placed UC in a physical restraint
                                                  and lowered hlm to the floor for the safety of UC, staff and other minors in the program. Due to his continued struggle, UC was placed in
                                                  mechanical restraints for the safety of UC, staff and other minors in the program. UC was escorted to his room where he continued to


Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 18 of 23 Pageid#: 587
                                                   threaten to assault staff once the restraints were removed. Staff stayed with UC in his room where they continued to attempt verbal de-
                                                   escalation. At 03:37PM, UC was calm enough to allow staff to remove the restraints without issue. UC was in physical restraints for
                                                   approximately one minute and in mechanical restraints for approzimatelyfifty-five minutes. SVJC nurse followed up with UC. However, UC
                                                   did not report any injuries. Staff Mr. Peeling reported a swollen knee, and bruising and swelling to the right side of his forehead. He will be
                                                   going to the Urgent Care to check for a concussion. Reported 6y CM Elsa Gallardo

     Was the UC or Anyone Else Injured7:                 ryes (" No                               Specify: uc revorted no injuries. 5eaff wa: injured. please see above.

     Actions Taken

     ~=1 Staff Response and Intervention (History)



       =assaulted another minor in the gym. Pending full investigation. Follow up will be              11/14/201610:12:50 AM                              egallardo@svjc.org
       ovided in a SIR Addendum.
     Staff Response and Intervention               On 11/13/16 at 02:41PM, staff placed UC                                      in a physical restraint and lowered him to the ground due to an
                                                   assault in progress. Due to UC's continued struggle, staff placed UC in a mechanical restraints for the safety of UC, staff and other minors in
                                                   the program. Afterwards, staff escorted 11C to his room where they continued co attempt verbal de-escalation. At 03:37PM, UC was calm and
                                                   allowed staff to remove the mechanical restraints without issue. UC was in a physical restraints far approximately one minute and in
                                                    mechanical restraints for approximately 55 minutes. Staff Mr. Peeling reported a swollen knee, and bruising and swelling to the right side of
                                                   his forehead. He will be going to the Urgent Care to check for a concussion. Reported by CM Elsa Gallardo

     U Fellow-up and/or Resolution(Hktary)



      UC assaulted another minor in the gym. Pending full investigation. Follow up will be             11/14/201610:12:50 AM                              egalla rdo@svjc.org
      provided in a SIR Addendum.

     Follow-up and/or Resolution:                  In accordance with the Shenandoah Valley Juvenile Center's behavioral management policy, UC                                       was removed
                                                   from regular programming for disruptive behavior and assault on peer. UC's behavior will 6e continually evaluated in order to expedite
                                                    minor's reintegration into regular programming while maintain the safety of UC, staff and other minors in the program. Following
                                                   reintegration, Clinician and Case Manager will meet with UC to discuss safety concerns and behavioral management. Follow-up will be
                                                   documented in UC's individual progress notes and case manager notes. Reported by CM Elsa Gallardo

         Recommmdatlons(History)



      UC assaulted another minor in the gym. Pending full investigation. Follow up will be                          30:12:50 AM                           ~egalla rdo@svjc.org
      provided in a SIR Addendum.
                                                                                                               T                                    .........   ------.._ ._..__--------
     Recommendations:                              It is recommended that UC.                                  continue to receive case management, clinical, legal and medical services.
                                                    Reported by CM Elsa Gallardo
     Reporting:

     Reported To State Licensing:                  (' Yes C•~ No                     Date of Report:                                                     Time of Report:

     Was the Incident Investigated?                (' Ves (~ No           Date Notified the Incident                                       Case/Confirmation Number:
                                                                          will be investigated:

     Explain

     ~~ Progress of Investigation (History)

     U Resul4s/Findings of Investigation (History:

     Results/Findings of Investigation:
     Attach Reports/Findings:

     Is CPS Different From State Licensing:          r Yes l" No

     Reported To CPS:                               f" Yes r No                      Date of Report:                                                  Time of Report:

     was the Incident Investigated?                !' Yes t~ No           Date Notified the Incident                                    Case/Confirmation Number:
                                                                          will be investigated:

     Explain

     Results/Findings of Investigation
     Attach Reports/Findings:

     Reported 7o Local Law Enforcement:            (' yes C•' No                     Date of Report:                                                  Time of Report:

                                                                                     Officer Name:                                                      Officer Badge:

     Was the Incident Investigated?                !' Ves f' No           Date Notified the Incident                                    Case/Confirmation Number:
                                                                          will be investigated:

     Explain

     L'-~ Progress of Investigation (HIs[ory)

     ~'—~ Results/Findings of Investigation (Hlstory~:

     Results/Findings of Investigation:

     Attach Reports/Findings:

     ORR NotlFlcatlons:



                                                     Jessie Mansilla           ORR/FFS                 11/13/2016          03:45 PM             jessie.mansila@acf.hhs.g 1024014844

                                                     Joseph Flippin            ORR/PO                  11/13/2016          03:45 PM             joseph.flipptn~acf,hhs.ga 2024014863

                                                                               Medical Coordinator

                                                     Patricia Melendres        Case Coordinator        11/13/2016          03:45 PM              patricia.melendres~gdit.c 4035876557

                                                     Mark Bennett              CFS                     11/13/2016          03:45 PM              mark.bennett@acf.hhs.gov 2022605738


Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 19 of 23 Pageid#: 588
                                     DCS Hotline                  SIR Hotline             17/13/2016      03:45 PM       sirhotline~ad.hhs.gov    2024015709

                                     Rebecca Schreuder            GDIT                    11/13/2016      03:45 PM __ rebeccaschreuder@gdit.co 475520202_

     Other Natifiatfans
     Is this an SIR for a Runaway?   (' Yes !~ No

                                     Title                 Name                 Date Notified   Time Notified   Method of NotificationSpecify



                                                                         --




                                     Staff Filing Report            Elsa Galla rdo              Case Manager           egalla rdo@svjcorg        5408860729

                                     Contact for Follow-Up         Elizabeth Ropp               Lead Case Manager      eropp~svjc.org            5408860729




Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 20 of 23 Pageid#: 589
                                                                                                                                                                                                         EXHIBIT

                                                                                                                                                                                                          D-5
                                              First Name:                                                                      Status:                        ADMITTED
                                              Last Name:                                                                       AKA:

                                              Date of Birth:                                                                   Gender:                        M
                                              A No.:                        208946737                                          LOS:                           222
                                              Age:                          14                                                 LOC:                           228
                                              Child's Country of Birth:      Mexico                                            Current Program:               Shenandoah Valley Juvenile Center
                                              Admitted Date:                4/9/2016                                           Current Location:              Staunton, VA
                                                                            4/2/2016
                                              ORR Placement Date:


     Event Type:       SIR Event
     Date of Event:    11/17/2016                                         Time of Event: 10:30 AM                                             Event ID:        81365


     Synopsis of       Assault on Peer; Unit Charlie
     Event:


     ~" Emergen[y SIR                         (•~ SIR

     SIR

     r Abuse/Neglect in ORR                                            ---~~i=a—                                                     Alleged Perpetrator:                --s<•ic~„--

     Care

     r Past Abuse/Neglect Not in ORR                 r Abuse In Home Country                                                     r Abuse On lou rney
     Care
                                                     r    Neglect/A6andonment in [he Home Country                                r    Neglect/A6andonment in the United States

                                                     r Abuse In United5tates                                                     r Other

                                                     r Abuse In DHS Custody                                                     Specify:

                                                          r Physical Abuse In ICE Custody

                                                          r Sexual Abuse In ICE Custody

                                                          r Physical Abuse In C8P Custody

                                                          r Sexual Ahuse In CBP Custody

                                                          r Other

                                                         Specifyi

            Major Behavioral Incidents that          r Possession/Use of a Weapon                                                r Physical Aggression/Harm to Others
     threaten safety                                 r Suicidal Ideation                                                         r Use of Drugs and/or Alcohol in ORR Custody

                                                     r Verbal Aggression                                                         r Self-injurious Behaviors/Self Mutilation

                                                     r Other                                                                     r Suicide Attempt/Gesture

                                                     Specify:

     r Runaway                                       r Runaway                         r Attempted Runaway

     r In[idents Involving Law                       r Search                                                                    r Investigate/Response
     Enforcement                                     r Interview                                                                 r Arrest

                                                     r Other

                                                     Specify:

     r Safety Measures                                r' One-on-One Su p ervision                        r Use of Restraints                           r Pat-Dawn or Other Searches

     r Criminal History                              r Significant Criminal History in Home Country

                                                     r Significant Criminal History in United States

                                                     r Other

                                                     Specify:

      r Pregnanry Related                             l' Pregnancy                      (~ Childbirth                          (" Termination Request
     Issues                                               Please describe how the pregnancy occurred and if there are any medical complications related to the pregnancy:

      r Other                                        r Contactor Threats to UC while in ORR Care (from smuggling syndicates, organized crime, other criminal actors)

                                                     r Other

                                                     Specify:

     Inrident Infamallon:
     Did the incident take place at another          (' Ves r No Care Provider Name:                -seie~t v~o~ider rvame--
     careproviderfacilityi                                                                                                                                  ,,, _
                                                                     Care Provider City:   - S. ~   ~ v %"''"~ `-"'; ~ Care Provider State.      '' ~"` ~~ `'-

      Location of Incident:                     Housing area          Date Reported To Care Provider:           11/i~/Zois                    Time Reported To Care Provider:          lz:s~ aM

      Other Specify:                    [harlie vod                    Date Reported To ORR:                    11/17/2016                    Time Reported To ORR:                    oi:as ann



     u Oewiption of lnddent(History)



      1C assaulted another minor. Pending full investigation. Follow up will be reported in an             11/17/20164:48:22 PM                               ego llardo@svjc.org

      SIR addendum.

     Description of Incident: (Full Description EVENT TIME CORRECTION and ADDENDUM: On 11/17/16 at 10~50AM, as the teacher left the unit, UC                                                       and
     of Incident)                                    another minor(minor 1) stood up from their seats and positioned themselves on either side of another minor (minor 2), in a threatening
                                                     manner. UC and minor 1 were verbally redirected to sit in their respective seats. However, at 10:52AM, UC tackled minor 2 by the neck, taking
                                                     him to the ground. With no time for a less intrusive intervention, UC was placed in a physical restraint for the safety of UC, staff and other
                                                     minors in the program. However, before staff was able to gain full control of the situation, UC managed to kick minor 2. Once in the physical



Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 21 of 23 Pageid#: 590
                                                  restraint, UC continued to struggle to get free from the restraint, in addition to making threatening comments. Due to UC's continues struggle,
                                                  an additional staff member assisted with controlling UC's legs. After exhausting all forms of less intrusive intervention and UC's continued
                                                 struggle, mechanical restraints are placed on UC's hands at 10:54AM, for the safety of UC, staff and other minors in the program. At
                                                  10:57AM, UC was escorted to his roam. At this time, UC continued making threatening comments towards staff and reported he would attack
                                                 staff once the mechanical restraints were removed. At 11:03AM, UC allowed staff to remove the mechanical restraints. Staff exited UC's room
                                                  without further issue. UC was in a physical restraint far approximately two minutes and in mechanical restraints for approximately eight
                                                  minutes. No injuries reported by UC or staff. Reported 6y Elsa Gallardo

     Was the UC or Anyone Else Injured7:           !' Yes f•No                                  Spe[ify: No InJuries reported by UC or staff.

     Actions Taken

     U SWff Response and Intervention (History)



     Pending full investigation. Follow up will 6e reported in an SIR addendum.                      X11/17/20164:48:22 PM                             ~egalla rdo@svjc.org

     Staff Response and Intervention              EVENT TIME CORRECTION and ADDENDUM: On 11/17/16 at 10:SOAM, staff verbally redirected UC and minor 1 to sit in their respective seats.
                                                  However, due to the assault in progress, staf(physically intervened and placed UC in a physical restraint for the safety of UC, staff and other
                                                  minors in the program. UC continued to struggle and an additional staff member assisted with controlling UC's legs. After exhausting all
                                                 farms of less intrusive intervention and UC's continued struggle, staff placed mechanical restraints on UC's hands for the safety of UC, staff
                                                  and other minors in the program. Staff escorted UC to his room and shortly after staff were a61e to remove the mechanical restraints. UC was
                                                  in a physical restraint for approximately two minutes and in mechanical restraints for approximately eight minutes. Reported by Elsa
                                                  Gallardo

         FoOow-up and/or Resdudon (History)



     Pending full investigation. Follow up will 6e reported in an SIR addendum.                      11/17/20164:48:22 PM                              ega llardo@svjc.org

     Follow-up and/or Resolution:                 In accordance with the Shenandoah Valley Juvenile Center's behavioral management policy, UC                                     was removed
                                                 from programming for disruptive behavior and assault on peer. UC's behavior will be continually evaluated in order to expedite UC's
                                                  reintegration into regular programming while maintaining the safety of UC, staff and other minors in the program. Removal from
                                                  programming will not exceed 24 hours, without administrative approval. Following reintegration, Clinician and Case Manager will meet
                                                  with UC to discuss safety concerns and behavioral management. Follow up will 6e documented in UC's individual progress notes and case
                                                  manager notes. Reported by Elsa Gallardo

     U Recommendatlons(Htscory)



     Pending full investigation. Fallow up will be reported in an SIR addendum.                      11/17/20164:48:22 PM                              egalla rdo@svjc.org

     Recommendations:                             It is recommended that UC                                  continue to receive case management, mental health, legal, and medical services.
     Reporting:

     Reported To State Licensing:                (' yes (~ No                      Date of Report:                                                     Time of Report:

     Was the Incident Investigated?              (' yes r No            Date Notified the Incident                                       Case/Confirmation Number:
                                                                        will be Investigated:
     Explain

         Progress of Investigation (History

         Results/Findings of Investigation (History:

     Results/Findings of Investigation:
     Attach Reports/Findings:

     Is CPS Different From State Licensing:        G Yes fNo

     Reported 7o fPS:                             C' Yes (•' No                    Date of Report:                                                  Time of Report:

     Was the Incident Investigated?               C' Yes R No           Date Notified the Incident                                    Case/ConTirmation Number:
                                                                        will he investigated:

     Explain

     Results/Findings of Investigation:
     Attach Reports/Findings:

     Reported To Local Law Enforcement:           fyes (~ No                       Date of Report:                                                  Time of Report:

                                                                                   Officer Name:                                                     Officer Badge:

     Was the Incident Investigated?               !' yes G No           Date Notified the Incident                                    Case/Confirmation Number:
                                                                        will 6e investigated:

     Explain

     L~ Progress of Investigation (History)

     ~=1 Results/Findings of Investfgatlon (History:

     Results/Findings of Investigation:
     Attach Reports/Findings:

     ORH Notlflcatlons:



                                                  Jessie Mansilla            ORR/FFS                 11/17/2016          01:45 PM               jessie.mansilla@acf.hhs.g 1024014844

                                                  Joseph Flippin             ORR/PO                  11/17/2016          01:45 PM               Joseph.flippin~acf.hhs.go 2024014863

                                                                              Medical Coordinator

                                                  Patricia Melendres         Case Coordinator        li/17/201fi         01:45 PM               pairicia.melendres@gdit.c 4035876557

                                                   Mark Bennett              CFS                     11/17/2016          01:45 PM               mark.6ennett@acf.hhs.gov 2022605738


Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 22 of 23 Pageid#: 591
                                       SIR Hotline            SIR Hotline             11/17/2016      01:45 PM         sirhotlne@ad.hhs.gov       2024015709
                                                                                      _               _._
                                       Rebecca Schreuder      GDIT                    11/17/2016      Ol AS PM         re becca schreuder~.7gdit coiaA 75520202
                                                                                             ___'_           _                                                ._
     other Notifications:
     Is this an SIR for a Runaway?     (' Yes (~ No

                                                       Name                 Date Notified   time Notified   nnethod of nlotification   Specify



                                         ~--_~,-
     Reporter and Follow-Up Con[act:



                                       Staff Filing Report     Elsa Galla rdo               Case Manager            egalla rdo@svjc.org          5408860729
                                                           _                         _—_
                                       Contact for Follow-Up~Elizabeth Ropp                 Case Manager            eropp@svjc.org               5408860729




Case 5:17-cv-00097-EKD-JCH Document 45-4 Filed 03/21/18 Page 23 of 23 Pageid#: 592
